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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


  Charles Hines, individually and on behalf of all          Case No. CASENUMBER
  others similarly situated,

                    Plaintiff,                                      NOTICE OF REMOVAL

            vs.

  Proctor.io Incorporated,

                    Defendant.


       Pursuant to 28 U.S.C. § 1446(d) and the jurisdictional provisions of the Class Action

Fairness Act of 2005, codified at 28 U.S.C. §§ 1332(d)(2) and 1453(b) (“CAFA”), Defendant

Proctor.io Incorporated (“Proctorio”) hereby removes the above-captioned case from the Illinois

Circuit Court of Cook County to the United States District Court for the Northern District of

Illinois, Eastern Division. In doing so, Proctorio states as follows:

                     BACKGROUND & PROCEDURAL REQUIREMENTS

       1.         On June 3, 2021, Plaintiff Charles Hines commenced this putative class action by

filing a Class Action Complaint and Demand for Jury Trial (“Class Action Complaint”) in the

Circuit Court of Cook County, Illinois, a court located within this district, under Case Number

2021CH02709 (the “State Court Action”). A copy of the Class Action Complaint, summons, and

all other process served on Proctorio in the State Court Action is attached as Exhibit A. See 28

U.S.C. § 1446(a). Other than the documents included in Exhibit A, no other documents have been

filed with the Circuit Court of Cook County in this action.

       2.         The Class Action Complaint asserts three causes of action against Proctorio, all

arising under the Illinois Biometric Information Privacy Act (“BIPA”). Class Action Compl.,

¶¶ 59-72. The gravamen of Plaintiff’s complaint is that Proctorio failed to comply with certain



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provisions of the BIPA, 740 ILCS § 14/1 et seq., by: (1) not informing Plaintiff and the Class

Members in writing of a specific purpose and length of time for which their biometric data was

being collected, stored, and used; (2) selling, leasing, trading, or otherwise profiting from Plaintiff

and the Class Members’ biometric data; and (3) disseminating Plaintiff and the Class Members’

biometric data. Id.

       3.      This Court is the United States District Court for the district and division in which

the State Court Action is pending. Venue for this removal is therefore proper. See 28 U.S.C.

§ 1441(a).

       4.      Proctorio serves this Notice of Removal within 30 days after being served with

process in the State Court Action on June 10, 2021. Proctorio’s removal is therefore timely. See

28 U.S.C. § 1446(b).

       5.      Proctorio is serving this Notice of Removal on Plaintiff’s counsel and filing a

Notice of Filing Notice of Removal with the clerk of the Circuit Court of Cook County, attaching

a copy of this Notice of Removal. See 28 U.S.C. § 1446(d).

        JURISDICTION PURSUANT TO THE CLASS ACTION FAIRNESS ACT

       6.      A defendant has a right to remove a state court action to a federal district court

where the district has original jurisdiction over the action. See 28 U.S.C. § 1441. CAFA extends

federal jurisdiction to all putative class actions in which: (a) there are one hundred (100) or more

members of the putative class; (b) there is minimal diversity—i.e., at least one (1) member of the

proposed class is a citizen of a state different from any defendant; and (c) the aggregated claims

of the individual class members exceed the sum or value of $5,000,000.00. See 28 U.S.C.

§§ 1332(d)(2), (5) and (6). Based on the allegations in Plaintiff’s complaint, which Proctorio does

not espouse and expressly denies, this case satisfies these requirements.




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       This Case Is a “Class Action” Which, As Pled, Involves More Than 100 Putative Class
       Members.

       7.      For purposes of § 1332(d), a “class action” is defined as “any civil action filed in a

district court of the United States under rule 23 of the Federal Rules of Civil Procedure or any civil

action that is removed to a district court of the United States that was originally filed under a State

statute or rule of judicial procedure authorizing an action to be brought by 1 or more representative

persons as a class action.” 28 U.S.C. § 1332(d)(1)(B).

       8.      Plaintiff purports to bring his claims pursuant to 735 ILCS 5/2-801, a state statute

authorizing an action by one or more representative persons as a class action. Specifically, Plaintiff

alleges that he is bringing claims on behalf of a proposed class of “[a]ll individuals who are Illinois

residents who had their biometrics collected, captured, received, or otherwise obtained, by

Defendant during the statutory period.” Class Action Compl., ¶ 54.

       9.      Plaintiff alleges that “the number of persons within the Class is substantial, believed

to amount to thousands of persons or more.” See Class Action Compl., ¶ 55.

       The Parties Are Diverse.

       10.     Under 28 U.S.C. § 1332(c)(1), a corporation is deemed a citizen of every State

which it has been incorporated and the State in which it has its principal place of business.

Proctorio is a Delaware corporation with a principal place of business in Scottsdale, Arizona. See

Declaration of Mike Olsen (attached as Exhibit B), ¶ 3. Proctorio is therefore a citizen of Delaware

and Arizona. See 28 U.S.C. § 1332(c)(1).

       11.     Plaintiff alleges that he is a citizen of Illinois, Class Action Compl., ¶ 16, and he

purports to bring claims on behalf of a class that includes only “Illinois residents,” id., ¶ 54.

       12.     Because Proctorio and Plaintiff are citizens of different states, the parties are

diverse for purposes of § 1332(d).



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       13.     Because Proctorio is not a citizen of Illinois, there is no basis from which the Court

must decline to exercise jurisdiction pursuant to §§ 1332(d)(4)(A) or (B).

        The Amount In Controversy Exceeds $5,000,000, Exclusive of Interest and Costs.

       14.     For purposes of determining the amount in controversy in a class action under

CAFA, “the claims of the individual members shall be aggregated.” 28 U.S.C. § 1332(d)(6).

Proctorio vigorously disputes the validity of Plaintiff’s claims and allegations, including but not

limited to Plaintiff’s and the putative class’s entitlement to any damages. Indeed, Proctorio asserts

that neither Plaintiff nor any putative class member is entitled to any relief as a matter of law.

Nevertheless, for purposes of determining whether federal jurisdiction exists, the aggregate

amount in controversy exceeds $5,000,000.00, exclusive of interest and costs.

       15.     Without admitting the validity of Plaintiff’s allegations and claims, Plaintiff seeks

statutory damages in the amount of $1,000 to $5,000 for himself and each putative class member,

for each alleged BIPA violation. Class Action Compl., ¶¶ 65, 69, 72. His Complaint alleges that

Proctorio violated the BIPA in multiple ways with regard to each putative class member, including

but not necessarily limited to:

                      Failing to inform Plaintiff and the Class in writing that their biometrics were

                       being collected, stored, used, and disseminated, id., ¶ 63;

                      Failing to inform Plaintiff and the Class in writing of the specific purpose

                       and length of term for which their biometric identifiers or biometric

                       information was being collected, stored, and used,” id.; and

                      Profiting from the biometrics of Plaintiff and the Class, and reserving the

                       right to sell such information at its discretion, thereby retaining the right to




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                        disclose, redisclose, or otherwise disseminate Plaintiff and the Class’s

                        biometric data, id., ¶¶ 68, 72.

        16.     Based on these allegations and Plaintiff’s further allegation that the class consists

of “thousands” of individuals, which allegations Proctorio expressly deny, Plaintiff’s putative class

claims exceed $5,000,000.00 in alleged value, in the aggregate, exclusive of interest and costs.

                                 NON-WAIVER OF DEFENSES

        17.     By this Notice of Removal, Proctorio does not waive any defenses that may be

available, including, without limitation, Plaintiff’s failure to state a claim or any other defense.

        18.     By this Notice of Removal, Proctorio does not admit any of the allegations in

Plaintiff’s Class Action Complaint.

                                          CONCLUSION

        19.     For all the foregoing reasons, removal is proper and this Court has original

jurisdiction over this case.


        WHEREFORE, notice is hereby given that this action is removed from the Illinois Circuit

Court of Cook County to the United States District Court for the Northern District of Illinois,

Eastern Division.




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Date: July 7, 2021
                                           Respectfully submitted,

                                           By: _______________________________

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